 The court incorporates by reference in this paragraph and adopts as the findings and orders
 of this court the document set forth below. This document was signed electronically at the
 time and date indicated, which may be materially different from its entry on the record.




       Dated: 10:30 AM August 5, 2020




                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF OHIO

IN RE:                                                       :     Chapter 13 Proceedings

Eric C. Lemon and                                            :     Case No.: 20-60332

Megan S. Lemon,                                              :      Judge Russ Kendig

Debtors.

                   AGREED ORDER SETTLING TRUSTEE’S OBJECTION
                           TO CONFIRMATION OF PLAN

       This matter is before the Court on Trustee’s Objection to Confirmation of the Chapter 13

Plan. The parties have agreed to the following:

   1. The Plan payment shall increase to $570.00 per month beginning in August 2020 to resolve

       feasibility issues.

   2. The general unsecured creditors shall not receive less than the Chapter 7 value pursuant to

       11 U.S.C Section 1325 (a)(4) of $1,564.50 (nonexempt equity in the 2019 tax refunds).

   3. The delinquency, if any, is hereby suspended as of the date of this order.

   4. Trustee may extend the length of the Plan, if necessary, in order to maintain feasibility of the

       Plan.




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       THEREFORE, IT IS THE ORDER OF THIS COURT that the Plan of the Debtor(s) is

amended as stated above.

                                                ###

Approved By:


/s/ David A. Mucklow
David A. Mucklow
Attorney for Eric C. and Megan S. Lemon


Submitted By:


/s/ Dynele L. Schinker-Kuharich
Dynele L. Schinker-Kuharich (0069389)
Chapter 13 Trustee
A. Michelle Jackson Limas (0074750)
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NOTICES TO:

Office of the United States Trustee, via the Court’s Electronic Case Filing System at
[RegisteredEmailAddress]@usdoj.gov

Office of the Chapter 13 Trustee, via the Court’s Electronic Case Filing System at
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